            Case 1:21-cr-00367-RDM Document 64 Filed 10/24/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

       v.                                              CR. NO. 1:21-CR-00367

JALISE MIDDLETON,
      Defendant.

                               MOTION TO VACATE TRIAL DATE

       Comes now counsel for the defendant, JALISE MIDDLETON, and moves this

Honorable Court to vacate the trial date in the above-captioned matter. In support of which,

counsel states the following:

   1. This matter is currently set for a jury trial on January 23, 2023.

   2. On or about September 26, 2022, undersigned counsel was appointed as substitute

       counsel for the defendant’s retained counsel.

   3. Since counsel’s appointment he has diligently worked to obtain prior counsel’s file, and

       discovery. Counsel has endeavor to familiarize himself with the facts and the law which

       apply to this matter.

   4. Due to delays beyond counsel’s control, prior counsel’s file was not received until several

       weeks after his initial request. The file contains a voluminous amount of discovery and

       other materials. In order to adequately prepare for trial counsel must become familiar

       with the contents of the file. The size of the file makes is virtually impossible for counsel

       to review and be prepared for trial on the current date.

   5. On September 29, 2022, counsel conferred with the defendant concerning the instant

       motion as well as her rights pursuant to the Speedy Trial Act. The defendant concurs
         Case 1:21-cr-00367-RDM Document 64 Filed 10/24/22 Page 2 of 3




       with the filing of this request. Further, the defendant does not object to exclusion of time

       from the Speedy Trial calculation.

   6. The granting of this instant motion would be in the interest of justice.

   7. The granting of the instant motion would protect the defendant’s Sixth Amendment right

       to the effective assistance of counsel.

   8. The granting of the insane motion would protect the defendant’s Fifth Amendment right

       to due process.

   9. Counsel has conferred with government counsel concerning this request. The

       government does not oppose the granting of the instant motion.

   10. Counsel has conferred with counsel for the co-defendant in this matter. He does not

       oppose the granting of the instant request.

   Wherefore, counsel for the defendant JALISE MIDDLETON, moves this Honorable Court to

vacate the current January 23, 2023 trial date in the above-cited matter.


I Ask For This:


___________________
Robert L. Jenkins, Jr., Esq.
U.S. District Court Bar No.: CO0003
Bynum & Jenkins Law
1010 Cameron Street
Alexandria, Virginia 22314
(703) 309 0899 Telephone
(703) 229-8652 Fax
RJenkins@BynumAndJenkinsLaw.com
Counsel for the Defendant JALISE MIDDLETON

                                 CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and accurate copy to be served on all counsel of record

via ECF on this October 24, 2022.
       Case 1:21-cr-00367-RDM Document 64 Filed 10/24/22 Page 3 of 3




___________________
Robert L. Jenkins, Jr., Esq.
U.S. District Court Bar No.: CO0003
Bynum & Jenkins Law
1010 Cameron Street
Alexandria, Virginia 22314
(703) 309 0899 Telephone
(703) 229-8652 Fax
RJenkins@BynumAndJenkinsLaw.com
Counsel for the Defendant JALISE MIDDLETON
